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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


MATTHEW D. WILLIAMS,                     :
                                         :
       Plaintiff,                        :
                                         :
       v.                                :     CASE NO.    3:15CV673(RNC)
                                         :
RUSHMORE LOAN MANAGEMENT                 :
SERVICES LLC,                            :
                                         :
       Defendant.                        :

                                         RULING

       The plaintiff, Matthew Williams, alleges that the defendant,

Rushmore         Loan   Management      Services,    violated    the    Fair    Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. by communicating

with       him    instead    of   his    attorney    and   communicating       false

information about his mortgage.              Pending before the court are the

plaintiff's three motions in limine.1               (Doc. ##94, 120, 123.)       The

motions are denied.

I.     Legal Standard

       "'Motion in limine', loosely translated, means 'motion at the

threshold.'" 21 Charles Alan Wright & Kenneth Graham, Jr., Federal

Practice and Procedure § 5037.10 (2d ed. 2005).                 Motions in limine

are "well established devices" that "settle evidentiary disputes in

advance so that trials are not interrupted mid-course for the

consideration of lengthy and complex evidentiary issues."                      United

States v. Tokash, 282 F.3d 962, 968 (7th Cir. 2002).                   "The purpose


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      On January 6, 2017, U.S. District Judge Robert N. Chatigny
referred the motions to the undersigned. (Doc. #126.)
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of an in limine motion is 'to aid the trial process by enabling the

Court to rule in advance of trial on the relevance of certain

forecasted evidence, as to issues that are definitely set for

trial,   without    lengthy     argument   at,    or     interruption   of,   the

trial.'"     Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir. 1996).

See, e.g., Hannah v. Wal-Mart Stores, Inc., No. 3:12cv1361(VAB),

2017 WL 690179, at *2 (D. Conn. Feb. 21, 2017)("The purpose of a

motion in limine is to allow the trial court to rule in advance of

trial on the admissibility and relevance of certain forecasted

evidence"); Wechsler v. Hunt Health Sys., Ltd., 381 F. Supp. 2d

135, 140 (S.D.N.Y. 2003)(same).         "District courts have discretion

to determine evidentiary issues presented in motions in limine in

advance of trial."       In re: General Motors LLC Ignition Switch

Litig., No. 14-MC-2543(JMF), 2016 WL 4410008, at *1 (S.D.N.Y. Aug.

18, 2016).

II.    Discussion

       In the pending motions in limine, the plaintiff requests that

the Court make findings of liability.            Specifically, the plaintiff

asks the Court to find as a matter of law that the defendant

       (1)   violated 15 U.S.C. § 1692c(e)(8) "twelve times in the

year   before   this   action    was   brought"     by    communicating   false

information to a credit bureau (doc. #94);

       (2)   violated 15 U.S.C. § 1692f(1) by including charges that

were not due in its communications (doc. #120); and


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     (3)      violated 15 U.S.C. § 1692e(2)(A) by "falsely stating that

[plaintiff's] property was in foreclosure and that foreclosure was

imminent on a date certain."        (Doc. #123.)      The plaintiff also asks

the Court to find that the defendant's "defenses of setoff and

recoupment are meritless."          (Doc. #94.)       The plaintiff contends

that there is no factual dispute as to these claims and cites to

affidavits and various other evidence.

     "A motion in limine is not the proper vehicle for seeking a

dispositive ruling on a claim."          Hana Fin., Inc. v. Hana Bank, 735

F.3d 1158, 1162 n.4 (9th Cir. 2013).            A motion in limine is used to

obtain pretrial rulings on the admissibility of evidence, "not to

determine the sufficiency of the evidence or merits of an issue."

Montgomery v. Great Am. Assurance Co., No. 12-20503-CV, 2013 WL

12093809, at *1 (S.D. Fla. Apr. 8, 2013).            "It is well settled that

[m]otions      in   limine     address    evidentiary       questions    and    are

inappropriate devices for resolving substantive issues, such as the

sufficiency of the evidence to support a claim or defense." Bowers

v. Nat'l Collegiate Athletic Ass'n, 563 F. Supp. 2d 508, 532

(D.N.J. 2008)(internal quotation marks and citation omitted). See,

e.g.,   Dry    Clean   Super    Ctr.,    Inc.   v.   Kwik   Indus.,     Inc.,   No.

08-CV-00578-WJM-CBS, 2012 WL 503510, at *4 (D. Colo. Feb. 15,

2012)("An in limine motion is not a proper vehicle for a party to

ask the Court to weigh the sufficiency of the evidence to support

a particular claim or defense, because [t]hat is the function of a


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motion for summary judgment, with its accompanying and crucial

procedural safeguards.")(quotation marks and citations omitted);

Dunn ex rel Albery v. State Farm Mut. Auto Ins. Co., 264 F.R.D.

266, 274-75 (E.D. Mich. 2009) ("[M]otions in limine are meant to

deal with discrete evidentiary issues related to trial . . . . The

denial of a motion in limine is warranted where the moving party

seeks to argue the merits of its case and preclude the non-moving

party from presenting its case."); C & E Servs., Inc. v. Ashland

Inc., 539 F. Supp. 2d 316, 323 (D.D.C. 2008) ("a motion in limine

should not be used to resolve factual disputes or weigh evidence");

Witness Sys., Inc. v. Nice Sys., Inc., No. 1:06CV126(TCB), 2008 WL

2047633, at *1 (N.D. Ga. May 10, 2008) ("As an issue of law in the

Court's province, Defendants should have raised [it] in a properly

supported motion for summary judgment rather than in a motion in

limine . . . ."); Mavrinac v. Emergency Med. Ass'n of Pittsburgh,

No. 04-1880, 2007 WL 2908007 at *1 (W.D. Pa. Oct. 2, 2007)

("Motions in limine are inappropriate vehicles to seek a final

determination with respect to a substantive cause of action and

should not be used as a substitute for a motion for summary

judgment"); Natural Resources Defense Council v. Rodgers, No.

CIV-S-88-1658(LKK), 2005 WL 1388671, at *1 n.2 (E.D. Cal. June 9,

2005) ("Motions in limine address evidentiary questions and are

inappropriate    devices    for   resolving    substantive     issues.");

Provident Life & Acc. Ins. Co. v. Adie, 176 F.R.D. 246, 250 (E.D.


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Mich. 1997) ("If [defendant] wanted to preclude [plaintiff] from

raising these defenses at trial because there was no genuine issue

of material fact as to them, then he should not have filed a motion

in limine . . . . but should instead have filed a summary judgment

motion pursuant to Federal Rule of Civil Procedure 56."); 75 Am.

Jur.2d Trial § 44 (2017) (stating that motions in limine should not

be used as "unnoticed motions for summary judgment or motions to

dismiss. . . . Moreover, deficiencies in pleadings or evidence are

not appropriately resolved by a motion in limine. Clearly, a motion

in limine may not properly be used as a vehicle to circumvent the

requirements of rules of procedure."); 21 Charles Alan Wright &

Kenneth Graham, Jr., Federal Practice and Procedure § 5037.10 (2d

ed. 2005)(observing that "case law provides ammunition against

those who would use the motion in limine as a substitute for a

motion for summary judgment or other peremptory ruling").

     Here, in the guise of motions in limine, the plaintiff seeks

dispositive rulings on the merits of his claims.              As explained

above, this is procedurally improper. Accordingly, the plaintiff's

motions in limine (doc. ##94, 120, 123) are denied.

     SO ORDERED at Hartford, Connecticut this 2nd day of March,

2017.

                                    ___________/s/________________
                                    Donna F. Martinez
                                    United States Magistrate Judge




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